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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-cr-117 (TFH)
v.
RYAN TAYLOR NICHOLS,
VIOLATIONS:

and

: 18U.S.C. §§ 231(a)(3), 2
ALEX KIRK HARKRIDER, : (Civil Disorder)

: 18 U.S.C. §§ 1512(c)(2), 2

Defendants. : (Obstruction of an Official Proceeding)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 641

(Theft of Government Property)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)
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INDICTMENT

The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia, RYAN TAYLOR
NICHOLS and ALEX KIRK HARKRIDER committed and attempted to commit an act to
obstruct, impede, and interfere with a law enforcement officer lawfully engaged in the lawful
performance of his/her official duties, incident to and during the commission of a civil disorder
which in any way obstructed, delayed, and adversely affected commerce and the movement of any
article and commodity in commerce and the conduct and performance of any federally protected
function.

(Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code,
Section 231(a)(3) and 2)

COUNT TWO

On or about January 6, 2021, within the District of Columbia and elsewhere, RYAN
TAYLOR NICHOLS and ALEX KIRK HARKRIDER attempted to, and did, corruptly
obstruct, influence, and impede an official proceeding, that is, a proceeding before Congress,
specifically, Congress’s certification of the Electoral College vote as set out in the Twelfth
Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, RYAN TAYLOR
NICHOLS, using a deadly and dangerous weapon, that is, OC/pepper spray, did forcibly assault,

resist, oppose, impede, intimidate, and interfere with, an officer and employee of the United States,
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and of any branch of the United States Government (including any member of the uniformed

services), while such officer or employee was engaged in or on account of the performance of

official duties.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, ALEX KIRK
HARKRIDER did embezzle, steal, purloin, knowingly convert to his use and the use of another,
and without authority, sold, conveyed and disposed of any record, voucher, money and thing of
value of the United States and any department and agency thereof, that is, a table leg, which has a
value of less than $1000.

(Theft of Government Property, in violation of Title 18, United States Code, Section
641)

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, RYAN TAYLOR
NICHOLS did knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was temporarily visiting, without lawful authority to do so, and,
during and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a
crowbar and OC/pepper spray.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)(1)(A))
COUNT SIX

On or about January 6, 2021, within the District of Columbia, ALEX KIRK
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HARKRIDER did knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was temporarily visiting, without lawful authority to do so, and,
during and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a
tomahawk axe.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)(1)(A)
COUNT SEVEN

On or about January 6, 2021, in the District of Columbia, RYAN TAYLOR NICHOLS
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions and, during and in relation to the offense, did use and
carry a deadly and dangerous weapon, that is, a crowbar and OC/pepper spray.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))
COUNT EIGHT
On or about January 6, 2021, in the District of Columbia, ALEX KIRK HARKRIDER
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted

area within the United States Capitol and its grounds, where the Vice President was temporarily
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visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions and, during and in relation to the offense, did use and
carry a deadly and dangerous weapon, that is, a tomahawk axe.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section
1752(a)(2) and (b)(1)(A))

COUNT NINE

On or about January 6, 2021, in the District of Columbia, RYAN TAYLOR NICHOLS
and ALEX KIRK HARKRIDER willfully and knowingly engaged in disorderly and disruptive
conduct in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly
conduct of a session of Congress and either House of Congress, and the orderly conduct in that
building of a hearing before or any deliberation of, a committee of Congress or either House of
Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,

Section 5104(e)(2)(D))

COUNT TEN

On or about January 6, 2021, in the District of Columbia, RYAN TAYLOR NICHOLS
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

COUNT ELEVEN
On or about January 6, 2021, in the District of Columbia, RYAN TAYLOR NICHOLS

and ALEX KIRK HARKRIDER willfully and knowingly paraded, demonstrated, and picketed
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in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

de
Attorney of the United States in
and for the District of Columbia.
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UNITED STATES DISTRICT COURT
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which in any way obstructed, delayed, and adversely affected commerce and the movement of any
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and of any branch of the United States Government (including any member of the uniformed

services), while such officer or employee was engaged in or on account of the performance of

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(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
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(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

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A TRUE BILL:

FOREPERSON.

de
“Mau Bases]
Attorney of the United States in
and for the District of Columbia.
